Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 1 of 9   Pageid#:
                                    445
Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 2 of 9   Pageid#:
                                    446
Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 3 of 9   Pageid#:
                                    447
Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 4 of 9   Pageid#:
                                    448
Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 5 of 9   Pageid#:
                                    449
Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 6 of 9   Pageid#:
                                    450
Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 7 of 9   Pageid#:
                                    451
Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 8 of 9   Pageid#:
                                    452
Case 7:07-cr-00030-GEC   Document 181 Filed 10/02/07   Page 9 of 9   Pageid#:
                                    453
